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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              HUNTINGTON DIVISION


JANE ROE,

                              Plaintiff,

v.                                                  CIVIL ACTION NO. 3:22-0532

MARSHALL UNIVERSITY
BOARD OF GOVERNORS,

                              Defendant.

                                     JUDGMENT ORDER

       In accordance with the accompanying Memorandum Opinion & Order, the Court

ORDERS judgment be entered for Defendant on all counts. The Court DIRECTS this case be

dismissed and stricken from the docket of this Court.

       The Court further DIRECTS the Clerk to send a certified copy of this Order to all counsel

of record and any unrepresented parties.



                                             ENTER:       June 24, 2024



                                            ROBERT C. CHAMBERS
                                            UNITED STATES DISTRICT JUDGE
